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                               UNITED STATE DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:14-cv-61376-BB

  PROFESSIONAL LED LIGHTING, LTD.,

                Plaintiff,

  vs.

  AADYN TECHNOLOGY, LLC,
  FRANK GALLAGHER, MARC KAYE,
  and WALTER LEFLER,

                Defendants.
                                              /

  AADYN TECHNOLOGY, LLC, a Delaware
  Limited Liability Company; FRANK
  GALLAGHER, a New Jersey citizen; MARC
  KAYE, a Florida citizen; and WALTER
  LEFLER, a New Jersey citizen,

                Plaintiffs,

  vs.

  PROFESSIONAL LED LIGHTING, LTD., an
  Illinois company; PRODUCT
  PRODUCTIONS, INC., an Illinois company;
  and PHILIP CONTURSI, an Illinois citizen,


                Defendants.
                                                   /

                          PLAINTIFFS/COUNTERDEFENDANTS'
                        NOTICE OF ATTORNEYS’ FEES AND COSTS

         Plaintiffs/Counterclaim Defendants, Aadyn Technology, LLC (“Aadyn”), Frank

  Gallagher, Marc Kaye, and Walter Lefler, by and through their undersigned counsel, hereby file

  their Notice of Attorneys’ Fees and Costs, as directed by the Court’s February 17, 2015 Order
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  granting in part Plaintiffs/Counterclaim Defendants’ motion to dismiss and awarding reasonable

  attorneys fees and costs under 17 U.S.C. § 505. See ECF No. [52].

                                    MEMORANDUM OF LAW

         The proper considerations for an award in this context are the factors set forth in Norman

  v. Housing Authority of the City of Montgomery, 836 F. 2d 1292 (11th Cir. 1988) and the twelve

  factors in Johnson v. Georgia Highway Exp., 448 F. 2d 714, 717-19 (5th Cir. 1974). 1              In

  determining the prevailing market rate, courts typically consider certain factors: the attorney’s

  customary fee; the skill required to perform the legal services; the attorney’s experience;

  reputation and ability; the time constraints involved; preclusion of other employment;

  contingency; the undesirability of the case; the attorney’s relationship to the client; and awards in

  similar cases. See Mallory v. Holmes, 923 F. Supp. 1548, 1555 (S.D. Fla. 1996).

         The Eleventh’s Circuit’s current standards for measuring attorney’s fees are set out in

  Norman, in which the court surveyed the fee-award jurisprudence of both the Supreme Court and

  the Eleventh Circuit, and reiterated that a fee award should be based upon a multiplication of a

  reasonable hourly rate (“the prevailing market rate in the relevant legal community for similar

  services by lawyers of reasonably comparable skills, experience and reputation”), by the number

  of “reasonable hours” billed, adjusting the resulting “lodestar” for the result obtained, the quality

  of representation and delay in payment. Norman, 836 F. 2d at 1298-1299, 1302. Although the

  balancing effect that previously was prescribed by Johnson has been replaced by the “lodestar”

  method, the 12 Johnson factors 2 still “might be considered in terms of their influence on the


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         Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) made binding on the
  Eleventh Circuit all decisions of the Fifth Court of Appeals decided prior to September 30, 1981.
  2
         The twelve Johnson factors, as summarized in Dowdell v. City of Apopka, Fla., 698 F. 2d
  1181, 1187, n. 8 (11th Cir. 1983), are:
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  lodestar amount.” Norman, 836 F. 2d at 1229. Although the Court’s award of fees and costs

  was pursuant to 17 U.S.C. § 505 as opposed to any of the various civil rights acts, and as the

  Court directed, the same approach to calculating a fee award applies. See ECF No. [52].

         In sum, in considering an application for attorney’s fees, courts typically apply the

  lodestar formula which assesses the reasonableness of the hours spent and the attorney’s hourly

  rate. See American Civil Liberties Union of Georgia v. Barnes, 168 F.3d 423 (11th Cir. 1999)

  (using the lodestar method, a reasonable award of attorney’s fees is “calculated by multiplying

  the number of hours reasonably expended on the litigation times a reasonable hourly rate” (citing

  Blum v. Stenson, 465 U.S. 886, 888 (1984)). A reasonable hourly rate is based on the “prevailing

  market rate in the relevant legal community for similar services by lawyers of reasonably

  comparable skills, experience, and reputation.” Johnson v. Corinthian Colleges, Inc., 2007 WL

  2050985, *1 (M.D. Fla. July 17, 2007) (citing Gaines v. Dougherty County Bd. of Educ., 775 F.

  2d 1565, 1571 (11th Cir. 1985)).




         a. the time and labor required;
         b. the novelty and difficulty of the questions;
         c. the skill requisite to perform the legal service properly;
         d. the preclusion of other employment by the attorney due to the acceptance of the case;
         e. the customary fee;
         f. whether the fee is fixed or contingent;
         g. time limitations imposed by the client or the circumstances;
         h. the amount involved and the results obtained;
         i. the experience, reputation and ability of the attorneys;
         j. the “undesirability” of the case;
         k. the nature and length of the professional relationship with the client; and
         l. awards in similar cases.

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         A.      Establishing the reasonable hourly rate

         “Common sense dictates that the ‘going rate’ in the community is in actuality the most

  critical factor in determining a reasonable fee.” Martin v. U. of S. Ala., 911 F. 2d 604, 610 (11th

  Cir, 1990). As stated in Norman:

         [T]he applicant bears the burden of producing satisfactory evidence that the
         requested rate is in line with prevailing market rates. NAACP v. City of
         Evergreen, 812 F. 2d 1332, 1338 (11th Cir. 1987). Satisfactory evidence at a
         minimum is more than the affidavit of the attorney performing the work. Blum,
         465 U.S. at 896 n. 11, 104 S.Ct. at 1547 n. 11. It should also be noted that in line
         with the goal of obtaining objectivity, satisfactory evidence necessarily must
         speak to rates actually billed and paid in similar lawsuits. Testimony that a given
         fee is reasonable is therefore unsatisfactory evidence of market rate. See Hensley,
         461 U.S. at 439 n. 15, 103 S.Ct. at 1943 n. 15. Evidence of rates may be adduced
         through direct evidence of charges by lawyers under similar circumstances or by
         opinion evidence. The weight to be given to opinion evidence of course will be
         affected by the detail contained in the testimony on matters such as similarity of
         skill, reputation, experience, similarity of case and client, and breadth of the
         sample of which the expert has knowledge.

  836 F. 2d at 1299.
         Central to the determination of a lawyer’s worth is an assessment of the lawyer’s skill.

  This criterion is addressed to the trial judge’s assessment of the attorney based on his observation

  of the “the attorney’s work product, his preparation, and general ability before the court.”

  Johnson, 488 F. 2d at 718. In making this assessment, the judge is to apply his expertise gained

  from his career as both a lawyer and a judge. Id. This criterion asks, initially, whether plaintiff’s

  counsel was competent and experienced to do the job assigned and, thereby, whether he or she is

  deserving of the going commercial rate for lawyers engaged in litigation in federal court.

         As it is for the jury to remember testimony presented, it is for the court to remember the

  performance of counsel:

         Throughout, and particularly if litigation is begun, the word “skill” incorporates
         the notions of organization and efficiency. An attorney of great skill organizes his
         thoughts, his work, and his presentation in a logical and orderly way without lost
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         motion or false starts so that each move builds upon the last to the achievement of
         the goal. Organization means that discovery devices and motions are thought out
         and not utilized in a random and erratic way or for the mere purpose of going
         through established routines. Efficiency means doing well just what ought to be
         done and doing it in a minimum of time.

         The underpinning for these facets of legal skill is knowledge, knowledge of trial
         practice and knowledge of the substantive law. A lawyer who has to educate
         himself generally in either or both of these two areas may ultimately be as
         effective as a specialist, but he has no right to expect to be reimbursed at the same
         rate as a lawyer who begins his preparation with the finer points raised by the
         particular case.

  Norman, 836 F. 2d at 1300-1301.
         Specialization, and the attendant economies of time that result, is a ground for awarding

  an hourly rate at the high end of the spectrum. For as the court observed in White v. State of

  Ala., 1996 WL 378235, *5 (M.D. Ala. 1996), a voting rights case in which the court found that

  the plaintiff’s attorneys’ “expertise enabled them to prosecute this case very efficiently:”

         Attorneys with less knowledge and experience would have taken many more
         hours to pursue this litigation. Therefore, Agricola's and Jordan's “efficiency
         justifies an hourly rate at the high end of the customary range.” Gay Lesbian
         Bisexual Alliance v. Sessions, No. 93-T-1178-N, --- F. Supp. ----, ---- (M.D. Ala.
         June 6, 1996); see also Coleman v. Cannon Oil Company, 911 F. Supp. 510, 515
         (M.D. Ala.1995) (“A lawyer already skilled in the area could demand a higher
         rate because he or she would be more knowledgeable and could work more
         efficiently”); Dillard v. City of Elba, 863 F. Supp 1550, 1553 (M.D. Ala.1993)
         (experienced attorneys prosecuted case in fewer hours than inexperienced
         attorneys would have); Curry v. Contract Fabricators Inc. Profit Sharing Plan,
         744 F. Supp. 1061, 1071 (M.D. Ala.1988) (attorney's “inexperience should be
         reflected in [lower] ... hourly rate”), aff'd, 891 F.2d 842 (11th Cir.1990).

  1996 WL 378235, *5.
         Evidence of comparable skill should be defined in terms of length and type of experience,

  education, professional accomplishments and reputation. Perkins v. Mobile Housing Authority,

  847 F. 2d 735, 737, n.1 (11th Cir. 1988).          The Court should also analyze the skills of

  organization, efficiency, knowledge of trial practice, knowledge of substantive law and


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  persuasiveness in determining the skill level of the lawyer seeking an award of attorney’s fees.

  Norman, 836 F. 2d at 1299.

           Here, three attorneys were involved in the preparation of the motion to dismiss LED’s

  improper copyright claims: lead litigation counsel Darth M. Newman, associate litigation

  counsel Kate A. Sozio, and local counsel Robin I. Frank.

           Mr. Newman is an associate in the Haddonfield, New Jersey law firm Archer & Greiner,

  P.C. whose practice is devoted to intellectual property litigation. Mr. Newman has been licensed

  to practice in the State of New Jersey and the Commonwealth of Pennsylvania since 2008. He is

  admitted to practice before the United States Court of Appeals for the Sixth Circuit and the

  United States District Courts of the Eastern District of Pennsylvania and the District of New

  Jersey. In addition he has been admitted pro hac vice in the Delaware Chancery Court, the

  District Court for the Northern District of Ohio, the Southern District of New York and this

  Court.

           Ms. Sozio is also an associate at Archer & Greiner, P.C. who also practices primarily

  intellectual property litigation. Ms. Sozio has been licensed to practice law in the State of New

  Jersey and the Commonwealth of Pennsylvania since 2012. She has been admitted to practice

  before the United States District Courts for the Eastern District of Pennsylvania and New Jersey.

           Ms. Frank is a partner at Shapiro, Blasi & Wasserman, P.A. whose practice is

  predominately devoted to federal litigation matters. Ms. Frank has been licensed to practice law

  in the State of Florida since 2003, and is admitted to practice law in the United States Court of

  Appeals, Eleventh Circuit, and the United States District Court, Southern and Middle Districts of

  Florida. In addition, Ms. Frank is a member in good standing of the Florida Bar and Federal Bar



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  and has been recognized as a “top up-and comer” and “rising star” in the South Florida Legal

  Guide and Florida Super Lawyer’s Magazine.

         Mr. Newman seeks an hourly rate of $295.00 per hour, Ms. Sozio seeks an hourly rate of

  $220.00 per hour, and Ms. Frank seeks an hourly rate of $325.00 for their time worked on

  Plaintiffs/Counterclaim Defendants’ motion to dismiss LED’s copyright allegations which is in

  line with prevailing market rates for attorneys of comparable skill and experience. See Affidavit

  of Ellen M. Leibovitch, attached hereto as Exhibit “B”. Again, Plaintiff would not have incurred

  any of the fees and costs set out in this notice had it not been for LED’s insistence on litigating a

  claim of copyright infringement for which they had no standing.

         Finally, the Affidavit of Ellen M. Leibovitch indicates that she has reviewed the files of

  Plaintiffs/Counterclaim Defendants’ counsel, Plaintiffs/Counterclaim Defendants’ counsels’

  Affidavits and the original time records. She is familiar with Ms. Frank’s experience, her

  reputation in the community, her skills and experience, and the hourly rate received by those

  lawyers for work of equal quality as that performed in the present case. While she has not met

  Mr. Newman or Ms. Sozio, she has reviewed the affidavit of Darth M. Newman, reviewed the

  billing records from the firm Archer & Greiner, P.C., the biographies of the attorneys from

  Archer & Greiner, P.C. whose time has been included in this Notice (Mr. Newman and Kate

  Sozio), the relevant file and docket materials in this matter, including materials in the Northern

  District of Illinois cause which was ultimately consolidated into this action. It is the opinion of

  Ellen M. Leibovitch that a reasonable prevailing market rate in our local community for services

  similar to those performed by Ms. Frank in the present case by a lawyer with reasonable

  comparable skills, experience and reputation is $325.00 per hour. It is also her opinion that a



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  reasonable prevailing market rate in our local community for services similar to those performed

  by Mr. Newman and Ms. Sozio in the present case by lawyers with reasonable comparable skills,

  experience and reputation are $295.00 and $220.00 per hour, respectively. She is also of the

  opinion that the work performed in connection with Plaintiffs/Counterclaim Defendants’ Motion

  to Dismiss was kept to a minimum of what was reasonable and necessary and no unnecessary

  work was undertaken. She examined the time listed on the billing recaps of hours expended on

  this file and compared it to the actual materials filed and is of the opinion that work was done

  efficiently and without undue prolongation of effort, was not redundant, reflects a distinct

  contribution to the case and is within the customary practice in this area of the law as is practiced

  in the tri-county area. See Exhibit “B” at ¶ 7-10.

         Plaintiffs/Counterclaim Defendants’ counsels’ skill and experience, as well as counsels’

  time and the costs incurred are more fully described in the Affidavits of Attorneys’ Fees and

  Costs, attached hereto as Composite Exhibit “A” and incorporated herein by reference.

  B. Assessing a reasonable number of hours

         In determining a reasonable number of hours to assign to a case, a fee applicant, and the

  court, should attempt to arrive at the number of hours that a lawyer would “bill a client of means

  who was seriously intent on vindicating similar rights, recognizing that in the private sector the

  economically rational person engages in some cost benefit analysis”– and excluding, in an

  exercise of “sound billing judgment,” all other time. Norman, 836 F. 2d at 1301. In other words,

  counsel for prevailing plaintiffs should be paid as is traditional with attorneys compensated by a

  fee paying client for all time reasonably expended on a matter. Blanchard v. Bergeron, 489 U.S.

  87, 91 (1989).



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         Time records were kept in this matter meticulously by each attorney, who, upon rendition

  of a particular service, entered his or her time directly into the computer billing program. The

  program keeps track of this information and generates monthly reports, which are then

  transformed into billing statements. The information on the billing statements is double checked

  by the billing attorney prior to being sent to the client as the final billing statement. See

  Composite Exhibit “A.”

         The bills attached to Plaintiffs/Counterclaim Defendants’ counsels’ Affidavits reflect

  time entries incurred for the motion to dismiss of 31 hours of attorney time at the rate of $295.00

  per hour ($9,145.00), 48 hours of attorney time at the rate of $220.00 per hour ($10,560.00), and

  10.8 hours of attorney time at $325 per hour ($3,510.00). The total amount of fees ($23,215.00)

  incurred in connection with the preparation of Plaintiffs/Counterclaim Defendants’ Motion to

  Dismiss were reasonably incurred as reflected by the attached affidavit. See Composite Exhibit

  “A.”

         In addition, bills attached to Plaintiffs/Counterclaim Defendants’ counsels’ Affidavits

  reflect time entries incurred for the preparation of this Notice of Fees of 2.5 hours of attorney

  time at the of $295.00 per hour ($737.50) 4 hours of attorney time at $325 per hour ($1,300.00).

  Finally, Mr. Newman and Ms. Sozio worked an additional 5.8 hours at $295.00 per hour and 3.6

  hours at $220.00 per hour respectively to prepare this Notice of Fees but Archer & Greiner’s

  accounting software cannot print those hours to a bill until early next week. These additional

  hours amount to $1,711.00 and $792.00 of fees respectively. All told, Plaintiffs/Counterclaim

  Defendants incurred $4,540.50 in attorney time charges in connection with the research and

  preparation of this Notice of Fees. George v. GTE Directories Corp., 114 F. Supp. 2d 1281,



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  1297 (M.D. Fla. 2000) (awarding attorneys fees reasonably incurred for the preparation and

  litigation of a fee application where the entitlement to fees had already been determined); see

  also Jean v. Nelson, 863 F.2d 759, 780 (11th Cir. 1988) (awarding reasonable attorneys fees and

  fees for litigating the fee application because “it would contravene Congress's purpose in passing

  the Equal Access to Justice Act to require under all circumstances that successful EAJA fee

  applicants bear the costs of obtaining EAJA fees.”).

         Sworn testimony by counsel regarding the hours incurred litigating this case is evidence

  of considerable weight of the time required and it must appear that the time is obviously and

  convincingly excessive to reduce the hours. Perkins, 847 F. 2d at 738.

         Moreover, as the time records indicate, only one attorney has claimed time in association

  with any particular task; therefore, no reduction is warranted for duplicative time.

         Attached to this motion is the Affidavit of Ellen M. Leibovitch. Ms. Leibovitch has

  reviewed the files of Plaintiffs/Counterclaim Defendants’ counsel, Plaintiffs/Counterclaim

  Defendants’ counsels’ Affidavits and the billing records for the subject motion and is of the

  opinion that the work performed was kept to a minimum of what was reasonable and necessary,

  no unnecessary papers were filed and no unnecessary work was undertaken and that work was

  done efficiently and without undue prolongation of effort, was not redundant, reflects a distinct

  contribution to the case and is within the customary practice in this area of the law as is practiced

  in the tri-county area. See Exhibit “B.”

         “District courts must differentiate, where possible, between attorney time connected with

  claims that give rise to attorney's fees and attorney time spent on non-compensable claims.”

  Costa v. Datapro, Inc., 2012 U.S. Dist. LEXIS 21809, at *12-15 (S.D. Fla. Feb. 22, 2012); see



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  also Gracie v. Gracie, 217 F.3d 1060, 1069 (9th Cir. 2000) ("In an award of 'reasonable attorney

  fees' pursuant to the Lanham Act, a party cannot recover legal fees incurred in litigating non-

  Lanham Act claims unless 'the Lanham Act claims and non-Lanham Act claims are so

  intertwined that it is impossible to differentiate between work done on [the separate] claims.'")

  (quoting John W. Crittenden & Eugene M. Pak, Monetary Relief Under Lanham Act Section 35,

  in Litigating Copyright, Trademark & Unfair Competition Cases for the Experienced Practitioner

  1998, at 419 (PLI Pat., Copyrights, Trademarks and Literary Property Course Handbook Series

  No. 537, 1998)). “The key factor in apportioning attorney’s fees is . . . whether it is possible to

  distinguish between the work that the attorney spent on the different claims.” Costa, 2012 U.S.

  Dist. LEXIS 21809 at *14. “Sometimes, the underlying conduct will be the same for the

  compensable and the non-compensable claims, which will translate into a finding that it is

  impossible to apportion the work performed on the different claims.” Id. at *14 (holding that

  “Datapro's common law counterclaims were so inextricably intertwined with its Lanham Act and

  FUTSA claims that it is not possible to make a meaningful adjustment for the work done on each

  claim.”); Davis v. Tampa Bay Arena, Ltd., 2013 U.S. Dist. LEXIS 154212, at *5-6, (M.D. Fla.

  Oct. 28, 2013) (declining to apportion costs because “the copyright claim, on which the Forum

  was successful, is inextricably intertwined with the other remaining claims.”). However, the fact

  that the same conduct underlies compensable and non-compensable claims does not

  automatically entitle a prevailing party to all of its fees. If the Court reviews the fee ledgers and

  can meaningfully apportion work spent on compensable claims vs. work spent on non-

  compensable claims, then the court may reduce the fees award accordingly. Costa, 2012 U.S.

  Dist. LEXIS 21809 at *14-15.



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         Here, Defendants/Counterclaim Plaintiffs’ conduct forced Plaintiffs/Counterclaim

  Defendants to expend resources fully briefing a motion to dismiss while also opposing

  Defendants/Counterclaim Plaintiffs’ response to the Court’s Order to Show Cause. All of these

  briefs involved overlapping and intertwined issues. 1 Naturally then, some time entries which

  have been incorporated into this Notice may arguably have applied to the copyright portion of

  Plaintiffs/Counterclaim Defendants’ motion to dismiss as well as other portions of the

  simultaneous motion practice. We have carefully reviewed the billing records to exclude time

  entries unrelated to LED’s copyright claims.

         Indeed, we have exercised billing judgment by excluding 16.2 hours of time that was

  spent researching and drafting the motion to dismiss but which we were able to determine were

  expended working on portions of the motion to dismiss which are unrelated to LED’s copyright

  claims. In addition, one half hour of Ms. Sozio’s February 2, 2015 time entry was spent

  researching Florida service of process law, but this time was not included in the 48 hours we are

  seeking through this Notice. We have also excluded from this Notice all of the time spent by

  Richard J. Contant, the partner at Archer & Greiner, P.C. who is ultimately responsible for

  Plaintiffs/Counterclaim Defendants’ representation. Mr. Contant is a very experienced attorney,

  he has been practicing since 1963, and his time is charged to Plaintiffs at $450 per hour.

  However, because Mr. Contant performed a supervisory role and not a lead litigator role with

  respect to the motion to dismiss, none of his fees are included in this Notice.




  1
         Just two weeks ago Defendants/Counterclaim Plaintiffs again raised settled legal
  questions in yet another round of motion practice which will require Plaintiffs/Counterclaim
  Defendants to brief, for the third or fourth time, some of these same interrelated issues. See ECF
  No. [51].
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  C.     Adjusting the lodestar

         Plaintiffs/Counterclaim Defendants are not seeking an upward adjustment of the lodestar.

  Rather, Plaintiffs/Counterclaim Defendants are simply seeking compensation for all hours

  reasonably expended. Norman, 836 F. 2d at 1302.

  D.     Treating litigation expenses

         In   addition   to   their   reasonable   attorneys’   fees,   the   Court   has   awarded

  Plaintiffs/Counterclaim Defendants their costs which amount to $194.40 for Lexis charges

  related to the preparation of the Motion to Dismiss. See Composite Exhibit “A.” Dowdell, 698

  F. 2d at 1192; see also Cullens v. Ga. Dept. of Transp., 29 F. 3d 1489, 1494 (11th Cir. 1994);

  Johnson, 706 F. 2d at 1209 (computerized research costs may be recoverable).        In    addition,

  Plaintiffs/Counterclaim Defendants incurred $124.24 in Lexis charges preparing this Notice. See

  George, 114 F. Supp. 2d at 1297.

                                       TOTAL FEE AWARD

         In accordance with their duties as attorneys, attorneys for Plaintiffs/Counterclaim

  Defendants expended 89.8 hours briefing Plaintiffs/Counterclaim Defendants’ motion to dismiss

  LED’s copyright allegations for a total of $23,215.00 in legal fees and Plaintiffs/Counterclaim

  Defendants’ counsels’ firms incurred costs and out-of-pocket expenses in the amount of $194.40

  for which they seek reimbursement.         Additionally, attorneys for Plaintiffs/Counterclaim

  Defendants expended 15.9 hours preparing this Notice of Fees for a total of $4,540.50 in legal

  fees and Plaintiffs/Counterclaim Defendants’ counsels’ firms incurred costs and out-of-pocket

  expenses in the amount of $124.24 for which they seek reimbursement.




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  Counsels’ time and the costs incurred are more fully described in the Affidavits of Attorneys’

  Fees and Costs, attached hereto as Composite Exhibit “A” and incorporated herein by reference.

  Attached hereto as Exhibit “B” is the Affidavit of Ellen M. Leibovitch, attesting to the

  reasonableness of the attorneys’ fees requested.

                                          CONCLUSION

           WHEREFORE, Plaintiffs/Counterclaim Defendants respectfully request that this

  Honorable Court enter an Order requiring Professional LED Lighting, Ltd to pay $27,755.50 in

  attorneys’ fees and $318.64 in costs.

  Dated:    February 27, 2015                  Respectfully submitted,
            Boca Raton, FL
                                               s/ Robin I. Frank
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                                               Counsel for Plaintiffs/Counterclaim Defendants

                                               and

                                               s/ Darth M. Newman
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                                               New Jersey Bar No. 032282008
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                                               Counsel for Plaintiffs/Counterclaim Defendants
                                                      (Pro Hac Vice)


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 27, 2015, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record identified on the Service List below via transmission of
  Notices of Electronic Filing generated by CM/ECF.

                                              s/ Robin I. Frank
                                              ROBIN I. FRANK, ESQ.

                                         SERVICE LIST

                Professional LED Lighting, Inc. v. Aadyn Technology, LLC, et al.
              AAdyn Technology, LLC, et al. v. Professional LED Lighting, Ltd., et al.
                                  Case No. 0:14-cv-61376-BB
                    United States District Court, Southern District of Florida


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   Plaintiff                               Plaintiff (Pro Hac Vice)
   Via CM/ECF                              Via CM/ECF




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